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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

C.H.,

        Plaintiff,

v.                                                                      No. 21-cv-0574 MV/SMV
                                                                               consolidated with
PATRICK HOWARD, DANA CRITCHLOW,                                          20-cv-0190 SMV/GBW
GREGORY A. EWING, and                                                    20-cv-0276 GBW/SMV
LAS CRUCES PUBLIC SCHOOLS,                                               20-cv-0549 SMV/GBW

        Defendants,

and

TEACHERS INSURANCE COMPANY,

        Plaintiff-in-Intervention,

v.

C.H. and PATRICK HOWARD,

        Defendants-in-Intervention.

                                             ORDER

        THIS MATTER is before the Court on Plaintiff’s Motion to Compel Defendant Las Cruces

Public Schools’ Answers and Responses to Plaintiff’s First Sets of Interrogatories, Requests for

Production, Requests for Admission, and Requests for Inspection (the “Motion”). [Doc. 104]. The

Court will hear oral argument on Plaintiff’s Motion on June 30, 2022, at 10:30 a.m. MDT.

        Plaintiff states in her Motion that LCPS responded to some of Plaintiff’s interrogatories,

requests for production, and requests for inspection after Plaintiff sent a Rule 37 letter modifying

and/or clarifying some of her requests. However, it is unclear from the Motion which of Plaintiff’s
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requests remain disputed, and which have been resolved by LCPS’s responses. Some of the

confusion arises because, in its responses, LCPS did not state whether it is withholding any

documents in its possession or control based on its initial objections to Plaintiff’s requests. See

Fed. R. Civ. P. 34(b)(2)(C) (requiring an objection to “state whether any responsive materials are

being withheld on the basis of [an] objection”).

        The Court wishes to avoid spending time preparing for oral argument on issues that have

been resolved. The Court will, therefore, order Defendant to file a paper affirmatively stating, for

each request to which it objected, whether it has withheld any documents in its possession or

control based on its objections to the request. Id.

        In addition, the Court will require Plaintiff, after considering LCPS’s statement, to file a

paper listing each interrogatory and request identified in its Motion that is still in dispute.

        IT IS THEREFORE ORDERED, ADJUDGED, and DECREED that, no later than 5:00

p.m. on Monday, June 27, 2022, LCPS must file a paper affirmatively stating, for each request

to which it objected, whether it has withheld any documents in its possession or control based on

its objections to the request.

        IT IS FURTHER ORDERED that Plaintiff must file, no later than 12:00 noon on

Tuesday, June 28, 2022, a paper listing each interrogatory and request identified in its Motion

that is still in dispute.

        IT IS SO ORDERED.


                                                               ______________________________
                                                               STEPHAN M. VIDMAR
                                                               United States Magistrate Judge



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